                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

 LA UNION DEL PUEBLO ENTERO, et                   §
 al.                                              §
             Plaintiffs,                          §
                                                  §                    5:21-CV-0844-XR
 vs.                                              §                   [Consolidated Cases]
                                                  §
 GREGORY W. ABBOTT, IN HIS                        §
 OFFICIAL CAPACITY AS GOVENOR                     §
 OF TEXAS, et al.                                 §
              Defendants.                         §


                              AMENDED SCHEDULING ORDER

        On this date, the Court considered a motion to extend certain scheduling order deadlines.
ECF No. 363. The Court GRANTS the motion. The disposition of this case will otherwise be
controlled by the following order. If a deadline set in this order falls on a weekend or a holiday,
the effective day will be the next business day.

        EXPERTS

        All parties shall file all designations of rebuttal experts and serve on all parties the material
required by FED. R. OF CIV. P. 26(a)(2)(B) for such rebuttal experts, to the extent not already
served, within fifteen (15) days of receipt of the report of the opposing expert.

        An objection to the reliability of an expert’s proposed testimony under Federal Rule of
Evidence 702 shall be made by motion, specifically stating the basis for the objection and
identifying the objectionable testimony, within eleven (11) days from the receipt of the written
report of the expert’s proposed testimony, or within eleven (11) days from obtaining a copy of the
expert’s deposition, if a deposition is taken, whichever is later.

       The deadline for filing supplemental reports required under FED. R. CIV. P. 26(e) is April
29, 2022.

        WITNESS LIST, EXHIBIT LIST, AND PRETRIAL DISCLOSURES

        The deadline for filing Rule 26(a)(3) disclosures is May 20, 2022.

       The deadline for filing objections under Rule 26(a)(3) is June 21, 2022. Any objections
not made will be deemed waived.



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       COMPLETION OF DISCOVERY

       Written discovery requests are not timely if they are filed so close to this deadline that
under the Federal Rules of Civil Procedure the response would not be due until after the deadline.

       The deadline for the completion of all discovery is May 13, 2022.

       PRETRIAL MOTIONS

        No motion (other than a motion in limine) may be filed after this date except for good
cause. The deadline to file motions (including dispositive motions and Daubert motions) is May
27, 2022. The deadline to file responses is June 7, 2022. The deadline to file replies is June 14,
2022. These deadlines are also applicable to the filing of any summary judgment motion under
FED. R. CIV. P. 56 and any defense of qualified immunity. Leave of court is automatically given
to file motions, responses, and replies not to exceed 30 pages in length. FED. R. CIV. P. 6(d) does
not apply to the time limits set forth in Local Rule CV-7 for responses and replies to motions.

       JOINT PRETRIAL ORDER AND MOTION IN LIMINE

       The deadline to file a Final Joint Pretrial Order and any motion in limine is June 21, 2022.

       All attorneys are responsible for preparing the Final Joint Pretrial Order, which must
contain the following:

       (1) a short statement identifying the Court’s jurisdiction. If there is an unresolved
       jurisdictional question, state it;

       (2) a brief statement of the case, one that the judge could read to the jury panel for an
       introduction to the facts and parties;

       (3) a summary of the remaining claims and defenses of each party;

       (4) a list of facts all parties have reached agreement upon;

       (5) a list of contested issues of fact;

       (6) a list of the legal propositions that are not in dispute;

       (7) a list of contested issues of law;

       (8) a list of all exhibits expected to be offered. Counsel will make all exhibits available for
       examination by opposing counsel. All documentary exhibits must be exchanged before the
       final pre-trial conference. The exhibit list should clearly reflect whether a particular exhibit
       is objected to or whether there are no objections to the exhibit;




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       (9) a list of the names and addresses of witnesses who may be called with a brief statement
       of the nature of their testimony;

       (10) an estimate of the length of trial;

       (11) for a jury trial, include (a) proposed questions for the voir dire examination, and (b) a
       proposed charge, including instructions, definitions, and special interrogatories, with
       authority;

       (12) for a nonjury trial, include (a) proposed findings of fact and (b) proposed conclusions
       of law, with authority;

       (13) the signatures of all attorneys; and

       (14) a place for the date and the signature of the presiding judge.

       FINAL PRETRIAL CONFERENCE

       The Final Pretrial Conference shall be held on Thursday, June 23, 2022 at 10:30 a.m.

        Motions in limine, if any, will be heard on this date. Counsel should confer prior to this
hearing on any issues raised in a motion in limine or the Joint Pretrial Order. Any party intending
to use a demonstrative exhibit should provide the same to opposing counsel at least 3 days prior to
the Final Pretrial conference so that if any objections or issues are raised about the demonstrative
exhibit, they can be addressed at the final pretrial conference.

       TRIAL

       The Bench Trial Date is Tuesday, July 5, 2022 at 10:30 a.m.

       It is so ORDERED.

       SIGNED this April 14, 2022




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                                             XAVIER RODRIGUEZ
                                             UNITED STATES DISTRICT JUDGE




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